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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
UNITED STATES OF AMERICA
vs CR NO. l:OS-lOOO$-Ol-T
ROLAND W. HAYER
ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on July 1, 2005, Assistant U. S. Attorney,
James W. PoWell, appearing for the government, and the defendant appeared in person
and With counsel, April Rose Goode, who was appointed

With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Count 1 of the lndictrnent.

This case has been set for sentencing on Fridav . September 30, 2005, at 8:30

The defendant is allowed to remain on his present bond.

IT IS SO ORDERED.

AA_QMM

JAM D. TODD
UNI D STATES DISTRICT IUDGE

DATE;j WG md

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with nme ss and/or az(b) mch on 07 ~ '

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This notice confirms a copy of the document docketed as number 35 in
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April Rose Goode

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Honorable J ames Todd
US DISTRICT COURT

